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 2                                                                               Hon. Richard A. Jones
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 9                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
10
                                         AT SEATTLE
11
      JENNIFER and EUGENE WONG, for
12    themselves and as parents of Student JW, a minor,
                                                            No. C16-1774 RAJ
13                           Plaintiffs,
      v.                                                    [PROPOSED] ORDER GRANTING
14                                                          STIPULATED MOTION FOR PARTIAL
      SEATTLE SCHOOL DISTRICT NO. 1,                        DISMISSAL
15
                             Defendant.
16

17
                                                  ORDER
18
            This matter having come before the undersigned Judge upon the Stipulation of Plaintiffs
19
     and the Defendant, and the Court being fully advised of the Facts herein, it is hereby:
20
            ORDERED, ADJUDGED, AND DECREED that Plaintiffs Jennifer and Eugene Wong
21
     causes of action or claims for damages resulting from or related to their physical or mental health
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23
     or any medical or mental health treatment, including but not limited to their claims for emotional

24   distress, generalized anxiety disorder, physical injuries, and treatment costs, are voluntarily

25   dismissed with prejudice; and

                                                                               CURRAN LAW FIRM P.S.
                                                                               555 West Smith Street
                                                                               Post Office Box 140
     ORDER GRANTING STIPULATED MOTION                                          Kent, Washington 98035-0140
     FOR PARTIAL DISMISSAL (C16-1774 RAJ) - 1                                  (T) 253 852 2345 / (F) 253 859 8037
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 1          IT IS FURTHER ORDERED that Plaintiffs may not present or rely upon any evidence or

 2   testimony related to Plaintiffs Jennifer and Eugene Wong’s physical or mental health condition or
 3   any of their medical or mental health treatment.
 4
            DONE IN OPEN COURT the 30th day of August, 2017.
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                                                          A
                                                          The Honorable Richard A. Jones
 9                                                        United States District Judge

10

11   Presented by:

12    CURRAN LAW FIRM, P.S.                             SHAW LAW GROUP, PLLC

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19    CURRAN LAW FIRM, P.S.

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25

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     ORDER GRANTING STIPULATED MOTION                                        Kent, Washington 98035-0140
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